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IN THE UNITED sTATEs DISTRICT coURT FIF.ED et
FOR THE WESTERN DISTRICT 0F TENNESSEE
WESTERN DIVISION 95 t ;,-Y 20 B.H 7= l 2

 

 

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OLEN M. BAILEY, JR., Individually;
TERESA W. BAILEY, Individually;
THE BAILEY LAW FlRM,

A Professional Corporation; and
OLEN M. BAILEY, JR. and
TERESA W. BAILEY, as Successors of
UNBORN BAILEY BABY GIRL

 
   

No. 04-2395 DP
JURY DEMANDED

V.

DECK- WHITE STATION TOWER, LLC;
DECK- WHITE S'I`ATION MANAGER,
LLC; KAUFMAN PROPERTIES, INC.;
KAUFMAN REALTY GROUP, LLC;
TRAMMEL CROW COMPANY, P.C., INC. .,
SANITORS, INC.; and

JOHN/JANE DOES, Individually

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Plaintiffs )
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Defendants and Third-Party Plaintiffs

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v. )
)
D.L. SCHMITZ WATERPROOFING & )
RESTORATION COMPANY, INC., and )
KERMIT B. BUCK & SON, INC., )
)

)

Third~Party Defendants.

 

SECOND AMENDED JOINT SCHEDULING ORDER

 

Pursuant to a joint motion of all plaintiffs and all defendants flled on or about May 9,
2005, the following dates are established, by this amendment to the First Amended S<:hedulingr

Order, filed September 2, 2004.

JOINING PARTIES: Third Par“cy Defendants___, 280 days prior to trial
PRETRIAL AMENDING PLEADINGS: Third Party Defendants 280 days prior to trial

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INlTlAL MOTION TO DISMISS: Third Party Defendants 270 days prior to trial

COMPLETING ALL DISCOVERY: ______________________________________________________________ 120 days prior to trial
(a) EXPERT DISCLOSURE (Rule 26)

(i) Plaintiffs Rule 26 Expert __________________________________________________________ 230 days prior to trial

(ii) Defendants Rule 26 Expert _______________________________________________________ 200 days prior to trial

(iii)Third Party Defendants’ Rule 26 Expert ________________________________ 185 days prior to trial

(iv)Supplementation under Rule 26(e) __________________________________________ 175 days prior to trial

(b) DOCUMENT PRODUCTION, INTERROGATORIES,

AND REQUESTS FOR ADMISSIONS ______________________________________ 160 days prior to trial

(c) DISCOVERY DEPOSITIONS ______________________________________________________ 120 days prior to trial
EVIDENTIARY DEPOSITIONS ____________________________________________________________________ 35 days prior to trial

FlLING DISPOSITIVE MOTIONS ________________________________________________________________ 100 days prior to trial

No depositions may be scheduled to occur after the discovery cutoff date, All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the the time
permitted by the Rules prior to the discovery cutoff.

Amendments to pleadings filed prior to the pretrial amendment cutoff date may be filed
Without further leave of court.

Motions to compel discovery or for a protective order are to be filed and served by the
discovery cutoff date, or if the default occurs With less than 30 days until the discovery cutoff
deadline, Within 30 days of the default or the service of the response, answer or objection that is
the subject of the motion to compel or for a protective order, unless the time for filing of such
motion is extended by court order for good cause shown; otherwise, the right to object to the
default, response, answer or objection shall be waived.

This case is to be set for jury trial, and the trial is expected to last at least 7 days. The
parties jointly request that the trial date be set by the court no sooner than March 2006.

The joint pretrial order submission date, the pretrial conference date and trial date shall be set by

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the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation no later than sixty (60) days after the close of discovery
and pursuant to separate Order entered simultaneously herewith.

The parties are reminded that pursuant to Local Rule ll(a)(lO)(a), all motions, except
motions pursuant to Fed. R. Civ. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may filed an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, a motion for leave to file a reply accompanied by a memorandum setting forth the
reasons for which a reply is required.

The parties have not consented to a trial before the magistrate judge.

This Order (amending the scheduling order entered September 2, 2004) has been entered
after consultation between and among trial counsel and pursuant to consent of all of the parties
Absent good cause shown, the scheduled dates set by this Order will not be modified or

extended

IT IS SO ORDERED 2 j

GE

DATE: 900 >_/

APPROVED IN FORM AND SUBSTANCE:

LARRY E. PARRISH, P.C.
Attomey’s for Plaintiffs

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l\llay 20, 2005 to the parties listed.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
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Honorable Bernice Donald
US DISTRICT COURT

